                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


STACEY LAMAR ANDERSON,                             )
                                                   )
                       Petitioner,                 )
                                                   )           No. 1:04-CV-76/1:03-CR-145
v.                                                 )
                                                   )           Judge Curtis L. Collier
UNITED STATES OF AMERICA,                          )
                                                   )
                       Respondent.                 )



                                      MEMORANDUM

        This matter comes before the Court on the motion of pro se petitioner Stacey Lamar

Anderson (“Petitioner”) to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255

(Court File No. 1). Petitioner filed a brief in support of his motion (Court File No. 1, Exh. A).

Pursuant to the Court’s Order (Court File No. 2), the Government filed a response to Petitioner’s

motion (Court File No. 3). After careful consideration of the motion and briefs and for the reasons

discussed below, the Court will DENY Petitioner’s motion to vacate, set aside, or correct his

sentence.1



I.      FACTUAL AND PROCEDURAL BACKGROUND

        On June 24, 2003 Petitioner was charged in a one-count indictment with conspiring to


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         In accordance with Rule 4(b) of the Rules Governing Section 2255 Proceedings, the Court
has considered all of the pleadings and filings in petitioner’s § 2255 motion filed herein, which will
be cited by the Court File Number assigned to the particular pleading or motion (e.g., “Court File
No. 1”), and all the files, records, transcripts, and correspondence relating to Petitioner’s conviction
in Criminal Docket No. 1:03-CR-145, which will be referred to by the Court File Number assigned
to the particular matter in the underlying criminal case (e.g., “Crim. Court File No. 1”).


     Case 1:03-cr-00145-TRM-SKL            Document 426         Filed 02/17/06       Page 1 of 15
                                           PageID #: 348
distribute fifty grams or more of cocaine base and five kilograms or more of cocaine hydrochloride

in violation of 21 U.S.C. §§ 846, 841(a)(1), and (b)(1)(A) (Crim. Court File No. 2; Presentence

Investigation Report (“PSR”) at ¶ 1). A few months later, Petitioner appeared before Magistrate

Judge William B. Carter with his counsel, Curtis L. Bowe, III (“Bowe”), and a not guilty plea was

entered on Petitioner’s behalf after Petitioner refused to enter a plea (Crim. Court File No. 48). On

November 6, 2003 the Government filed a notice of intent to use a prior conviction to enhance

Petitioner’s sentence pursuant to 21 U.S.C. § 851 (Crim. Court File No. 147). The same day,

Petitioner pleaded guilty, with the benefit of a written plea agreement, to the indictment (Crim.

Court File No. 146; PSR at ¶ 4).

       The plea agreement provides in part as follows:

       At trial, the evidence would establish that [Petitioner] was a cocaine supplier for
       Morris, Chip Bradford and other individuals from at least 1997 through August,
       2002. [Petitioner] obtained multiple kilograms of cocaine from suppliers he had in
       Nashville, Tennessee and Atlanta, Georgia. After receiving these drugs, [Petitioner]
       distributed and caused to be distributed, the drugs to other individuals for
       redistribution. [Petitioner] was assisted in his drug trafficking operations by his wife,
       Staci Anderson, Morris, Bradford and others. Drugs obtained from [Petitioner] were
       distributed to Morris, Bradford, Marilyn Johnson, Adrian Flemister, Michael Morris,
       John Hereford, Gary Lewis, Johnny McKibben, Gerald Patrick, Deborah Wilson,
       Rafael Phinazee and others.

       Police officers executed a search warrant at Lindsey Fitzgerald Morris’ residence on
       July 1, 1998 and recovered 6 ounces of crack cocaine. This cocaine was obtained
       from [Petitioner].

       Altogether the evidence would establish that [Petitioner] distributed in excess of 150
       kilograms of cocaine and over 1.5 kilograms of crack cocaine.


(Crim. Court File No. 281).2


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         Petitioner agreed this quoted portion of the plea agreement was “true and correct” during
the rearraignment (See Court File No. 281, November 6, 2003 Rearraignment Hearing Transcript,

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   Case 1:03-cr-00145-TRM-SKL             Document 426          Filed 02/17/06       Page 2 of 15
                                          PageID #: 349
       After Petitioner pleaded guilty a Presentence Investigation Report (“PSR”) was prepared.

Petitioner’s base offense level was thirty-eight under United States Sentencing Guidelines Manual

(“USSG”) § 2D1.1(c)(1) (PSR ¶ 14). The offense level was increased four levels to forty-two

because Petitioner was considered a leader or organizer of a major drug trafficking operation under

USSG § 3B1.2(a) (PSR at ¶ 17). Because Petitioner accepted responsibility for his actions his

offense level was decreased by three levels to thirty-nine (PSR at ¶ 21). Petitioner had an extensive

criminal history (PSR at ¶¶ 25-30, 35-36) and was considered a career offender under USSG § 4B1.1

(PSR at ¶ 34). Petitioner’s criminal history category was VI (PSR at ¶ 34). His Guideline range for

imprisonment was 360 months to Life (PSR at ¶ 46). However, because Petitioner had two prior

felony drug convictions he was subject to a mandatory life sentence pursuant to 21 U.S.C. §

841(b)(1)(A).

       On February 20, 2004 Petitioner was sentenced to life imprisonment (Crim. Court File No.

192). A final judgment was entered on March 1, 2004 (Crim. Court File No. 194). Petitioner did

not appeal his conviction or sentence. Petitioner’s motion to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C. § 2255 was filed on March 3, 2004 (Court File No. 1). The Petition

was timely filed within the statutory one-year limitation period. 28 U.S.C. § 2255(1).3



pp. 11-12).
       3
        28 U.S.C. § 2255, provides, in part:

       A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of –
       (1) the date on which the judgment of conviction becomes final;
       (2) the date on which the impediment to making a motion created by governmental
       action in violation of the Constitution or laws of the United States is removed, if the
       movant was prevented from making a motion by such governmental action;
       (3) the date on which the right asserted was initially recognized by the Supreme

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   Case 1:03-cr-00145-TRM-SKL             Document 426        Filed 02/17/06       Page 3 of 15
                                          PageID #: 350
         Having reviewed the materials thus submitted, together with the complete record of the

underlying criminal case, the Court finds they conclusively show Petitioner is not entitled to relief

on the claims asserted. Accordingly, the Court will decide the matter without an evidentiary

hearing, explaining its reasoning as it addresses each of Petitioner’s asserted grounds for relief. See

United States v. Todaro, 982 F.2d 1025, 1028 (6th Cir.), cert. denied, 508 U.S. 943, 113 S. Ct. 2423,

124 L. Ed. 2d 644 (1993).



II.      DISCUSSION

         Section 2255 of Title 28 of the United States Code permits a prisoner in custody under

sentence of a federal court to move the court which imposed the sentence to vacate, correct, or set

aside that sentence, on the grounds:

         the sentence was imposed in violation of the Constitution or laws of the United
         States, or that the court was without jurisdiction to impose such sentence, or that the
         sentence was in excess of the maximum authorized by law, or is otherwise subject
         to collateral attack . . . .

28 U.S.C. § 2255. This Court has jurisdiction under 28 U.S.C. § 1331. Petitioner has the burden

of establishing any claim asserted in the petition. See Bowers v. Battles, 568 F.2d 1 (6th Cir. 1977);

Mayes v. United States, 93 F. Supp. 2d 882, 886 (E.D. Tenn. 2000).

         Where a constitutional error is alleged, in order to obtain relief under § 2255 the record must

reflect a constitutional error of such magnitude it had a substantial and injurious effect or influence




         Court, if that right has been newly recognized by the Supreme Court and made
         retroactively applicable to cases on collateral review; or
         (4) the date on which the facts supporting the claim or claims presented could have
         been discovered through the exercise of due diligence.


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      Case 1:03-cr-00145-TRM-SKL            Document 426        Filed 02/17/06       Page 4 of 15
                                            PageID #: 351
on the proceedings. See Brecht v. Abrahamson, 507 U.S. 619, 637-38, 113 S. Ct. 1710, 1721-22,

123 L. Ed. 2d 353 (1993); Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999). “To prevail

under 28 U.S.C. § 2255, a defendant must show a ‘fundamental defect in the proceedings which

necessarily results in a complete miscarriage of justice or an egregious error violative of due

process.’” Gail v. United States, 21 F.3d 107, 109 (6th Cir. 1994) (citing United States v. Ferguson,

918 F.2d 627, 630 (6th Cir. 1990)).

       Petitioner asserts he was denied ineffective assistance of counsel in violation of the United

States Constitution because:

       (1) Counsel insisted Petitioner plead guilty “saying to not worry about the mention of a life
       sentence because he could talk it down at the sentencing hearing”;
       (2) Counsel did not allow Petitioner to read the plea agreement thoroughly, Petitioner did
       not understand the plea agreement, and Counsel spent only a few minutes talking to
       Petitioner about the plea agreement;
       (3) Petitioner did not receive the discovery materials in a timely manner;
       (4) Counsel failed to object to the notice of intent to use prior convictions;
       (5) Counsel did not object to the PSR and Counsel failed to discuss the PSR with Petitioner
       until three days before he was scheduled to be sentenced; and
       (6) Counsel improperly filed a motion for downward departure

(Court File No. 1, Exh. A).

       The Sixth Amendment provides, in pertinent part, “[i]n all criminal prosecutions, the accused

shall enjoy the right . . . to have the Assistance of Counsel for his defense.” U.S. Const. amend. VI.

A defendant has a Sixth Amendment right not just to counsel, but to “reasonably effective

assistance” of counsel. Strickland v. Washington, 466 U.S. 668, 687, 104 S. Ct. 2052, 2064, 80 L.

Ed. 2d 674 (1984). In Strickland, the Supreme Court set forth a two-pronged test for evaluating

claims of ineffective assistance of counsel:

       First, the defendant must show that counsel’s performance was deficient. This
       requires showing that counsel made errors so serious that counsel was not
       functioning as the “counsel” guaranteed the defendant by the Sixth Amendment.

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   Case 1:03-cr-00145-TRM-SKL             Document 426         Filed 02/17/06      Page 5 of 15
                                          PageID #: 352
          Second, the defendant must show that the deficient performance prejudiced the
          defense. This requires showing that counsel’s errors were so serious as to deprive the
          defendant of a fair trial, a trial whose result is reliable. Unless a defendant makes
          both showings, it cannot be said that the conviction or death sentence resulted from
          a breakdown in the adversary process that renders the result unreliable.

466 U.S. at 687, 104 S. Ct. at 2064. As with any other claim under § 2255, the burden of proving

ineffective assistance of counsel is on the petitioner. Virgin Islands v. Nicholas, 759 F.2d 1073,

1081 (3d Cir. 1985).

          In considering the first prong of the test set forth in Strickland, the appropriate measure of

attorney performance is “reasonableness under prevailing professional norms.” Strickland, 466 U.S.

at 688, 104 S. Ct. at 2065. A defendant asserting a claim of ineffective assistance of counsel must

“identify the acts or omissions of counsel that are alleged not to have been the result of reasonable

professional judgment.”       Id. at 690, 104 S. Ct. at 2066.       The evaluation of the objective

reasonableness of counsel’s performance must be made “from counsel’s perspective at the time of

the alleged error and in light of all the circumstances, and the standard of review is highly

deferential.” Kimmelman v. Morrison, 477 U.S. 365, 381, 106 S. Ct. 2574, 2586, 91 L. Ed. 2d 305

(1986).

          The second prong of the Strickland test requires the petitioner show counsel’s deficient

performance prejudiced the defense.          Thus, “[a]n error by counsel, even if professionally

unreasonable, does not warrant setting aside the judgment of a criminal proceeding if the error had

no effect on the judgment.” Strickland, 466 U.S. at 691, 104 S. Ct. at 2066. The Strickland test,

however, must be adjusted in cases where a defendant has pled guilty instead of being found guilty

after a trial. Thomas v. Foltz, 818 F.2d 476, 480 (6th Cir.), cert. denied, 484 U.S. 870 (1987). To

successfully challenge a guilty plea on the ground of ineffective assistance of counsel, Petitioner


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   Case 1:03-cr-00145-TRM-SKL               Document 426         Filed 02/17/06      Page 6 of 15
                                            PageID #: 353
must show a reasonable probability that, but for counsel’s errors, Petitioner would not have pleaded

guilty and would have insisted on going to trial. Hill v. Lockhart, 474 U.S. 52 (1985); Nagi v.

United States, 90 F.3d 130, 134 (6th Cir. 1996), cert. denied, 519 U.S. 1132 (1997); O’Hara v.

Wigginton, 24 F.3d 823, 828 (6th Cir. 1994); Sullivan v. United States, 11 F.3d 573, 576 (6th Cir.

1993); United States v. Smith, 981 F.2d 887, 894 (6th Cir. 1992).

       The Strickland Court further held both prongs must be established in order to meet the

claimant’s burden, and if either prong is not satisfied the claim must be rejected, stating:

       Although we have discussed the performance component of an ineffectiveness claim
       prior to the prejudice component, there is no reason for a court deciding an
       ineffective assistance claim to approach the inquiry in the same order or even to
       address both components of the inquiry if the defendant makes an insufficient
       showing on one . . . . If it is easier to dispose of an ineffectiveness claim on the
       ground of lack of sufficient prejudice, which we expect will often be so, that course
       should be followed. Courts should strive to ensure that ineffectiveness claims not
       become so burdensome to defense counsel that the entire criminal justice system
       suffers as a result.

Strickland, 466 U.S. at 697, 104 S. Ct. at 2069.

       A.      Guilty Plea

       Petitioner argues he was denied effective assistance of counsel because Bowe “insisted that

I plead guilty . . . saying to not worry about the mention of a life sentence because he could talk it

down at the sentencing hearing” (Court File No. 1, Exh. A). In making this statement Petitioner

appears to be arguing his counsel was ineffective because he told Petitioner he might not receive a

life sentence when in fact he did. Assuming Bowe made such a statement, his conduct did not fall

below an objective standard of reasonableness. Bowe was merely telling his client what might

happen if Petitioner pleaded guilty. When Petitioner pleaded guilty, there was reason to believe the

Government would file a motion for a sentence below the statutory minimum before or after


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   Case 1:03-cr-00145-TRM-SKL             Document 426         Filed 02/17/06      Page 7 of 15
                                          PageID #: 354
sentencing because Petitioner had the chance to assist in the prosecution of other coconspirators.

Although the Government did not file a motion pursuant to USSG § 5K1.1 prior to sentencing, the

Government eventually did file a motion for reduction of sentence pursuant to Fed. R. Crim. P. 35(b)

on May 13, 2005 (Crim. Court File No. 415). Thus, it is clear Bowe’s alleged statement did not fall

below an objective standard of reasonableness.

       Regardless, even if Bowe’s conduct could be considered deficient, any prejudice that might

have resulted was cured at the rearraignment hearing where Petitioner was made aware of the

statutory minimum sentence and was told by the Court the appropriate sentence was within the full

discretion of the Court (See Crim. Court File No. 281, Nov. 6, 2003 Rearraignment Transcript

(“Rearraignment Tr.”), at pp. 8-10).      Further, at the rearraignment hearing, the Court asked

Petitioner “[d]o you understand that if the sentence you receive is more severe than what you expect,

you will still be bound by your plea and will have no right to withdraw from your plea?” (Id. at p.

10). Petitioner responded, “Yes, sir” (Id.). Petitioner also represented at the rearraignment hearing

he had not been threatened or forced to plead guilty (Id. at p. 4). Therefore, despite any alleged

deficiencies on the part of his counsel, Petitioner was not forced to plead guilty and he clearly

understood the consequences of his decision to plead guilty.

       In sum, Bowe’s advice regarding the possible length of Petitioner’s sentence did not fall

below an objective standard of reasonableness. However, even if it did, Petitioner’s guilty plea was

voluntarily entered and Petitioner was not prejudiced. Accordingly, the Court will DENY

Petitioner’s requested relief on this ground.

       B.      Plea Agreement

       Next, Petitioner asserts his counsel was ineffective because he did not allow Petitioner to


                                                 8


   Case 1:03-cr-00145-TRM-SKL             Document 426         Filed 02/17/06     Page 8 of 15
                                          PageID #: 355
read the plea agreement thoroughly, Petitioner did not understand the plea agreement, and his

counsel only spent a few minutes talking to Petitioner about the plea agreement. Petitioner’s

allegations are simply not credible. At the rearraignment hearing the following dialogue took place:



       THE COURT:                     Mr. Anderson, have you had enough opportunity to
                                      discuss your case with your attorney?

       THE DEFENDANT:                 Yes.

       THE COURT:                     Are you satisfied with your attorney’s representation?

       THE DEFENDANT:                 Yes.

       THE COURT:                     Mr. Anderson, I’ve got the [plea agreement] Mr.
                                      Sullivan just referenced. It bears your name and the
                                      heading “Plea Agreement.” . . . And is this document
                                      the plea agreement that you have with the United
                                      States regarding the disposition of your case?

       THE DEFENDANT:                 Yes, sir.



       ...

       THE COURT:                     Mr. Sullivan, please inform Mr. Anderson of the
                                      maximum punishment he faces for this charge. And
                                      if there is a mandatory minimum, please advise him of
                                      that.


       MR. SULLIVAN:                  Yes, Judge. Because Mr. Anderson has two prior
                                      felony drug convictions, given the weight of cocaine
                                      involved in the conspiracy, he is facing a minimum
                                      mandatory sentence of life imprisonment . . . .

       THE COURT:                     . . . Knowing these penalties, do you still wish to
                                      plead guilty?

       THE DEFENDANT:                 Yes, sir.

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   Case 1:03-cr-00145-TRM-SKL            Document 426         Filed 02/17/06     Page 9 of 15
                                         PageID #: 356
        ...

        THE COURT:                   Okay. Mr. Anderson, is what is contained in
                                     Paragraph 8 [of the plea agreement] true and correct?

        THE DEFENDANT:               Yes, sir.

        ...

        THE COURT:                   Are you offering to plead guilty because you are in
                                     fact guilty?

        THE DEFENDANT:               Yes, sir.

(Rearr. Tr. at pp. 3, 5, 8, 11). “Solemn declarations in open court carry a strong presumption of

verity. The subsequent presentation of conclusory allegations unsupported by specifics is subject

to summary dismissal, as are contentions that in the face of the record are wholly incredible.”

Blackledge v. Allison, 431 U.S. 63, 74 (1977). Generally, where the Court “scrupulously follows”

the procedures required by Rule 11, a criminal defendant is bound by his statements in response to

the Court’s inquiries. Baker v. United States, 781 F.2d 85, 90 (6th Cir. 1986). The Court here

followed the Rule 11 procedures by extensively questioning Petitioner about the voluntariness of

his plea (See Rearr. Tr.). Moreover, Petitioner has not provided the Court with an explanation for

what he now effectively contends were perjured statements to the Court. Thus, he is bound by those

statements and has not shown extraordinary circumstances that indicate his answers under oath were

not true.

        Accordingly, the Court concludes Bowe’s representation was not deficient. Nevertheless,

even if he was, Petitioner was not prejudiced thereby because the record conclusively demonstrates

Petitioner understood the plea agreement and the consequences of entering the plea agreement.

Accordingly, the Court will DENY Petitioner’s claim for relief on this ground.


                                                 10


   Case 1:03-cr-00145-TRM-SKL           Document 426        Filed 02/17/06       Page 10 of 15
                                        PageID #: 357
       C.      Discovery Materials

       In his petition, Petitioner claims he was not given discovery material in a timely fashion and

once he received the discovery material he had no tape player with which he could listen to an audio

tape. Petitioner’s claim is easily disposed of because it fails to meet the prejudice prong of

Strickland. Nowhere does Petitioner allege if he had listened to the tape or received the discovery

earlier he would have refused to plead guilty and demanded to go to trial. Further, there is no

evidence Petitioner’s sentence would have been any different if the discovery material was disclosed

earlier and Petitioner had access to a tape player. Since Petitioner has not met his burden in showing

he was prejudiced by his counsel’s supposed failure with respect to discovery materials, the Court

will DENY Petitioner’s motion on this ground.

       D.      Notice of Intent to Use Prior Convictions

       Petitioner contends Bowe provided ineffective assistance of counsel when he did not object

to the Government’s filing a notice of intent to use prior convictions to enhance his sentence.

Petitioner claims the notice of intent “only included one prior felony controlled substance

conviction” (Court File No. 1, Exh. A). As the Government correctly points out, Petitioner is

mistaken. The notice of intent alleged two prior drug felonies (See Crim. Court File No. 147; PSR

at ¶ 3). Therefore, Petitioner’s sentence was properly enhanced, and he was subject to a mandatory

minimum sentence of life imprisonment. See 21 U.S.C. § 841(b)(1)(A). As a result, it is obvious

Petitioner’s counsel was not deficient in failing to object to the notice of intent to use prior

convictions and Petitioner was not prejudiced thereby. Accordingly, the Court will DENY

Petitioner’s ineffective assistance of counsel claim based on Bowe’s failure to object to the notice

of intent to use prior convictions.


                                                 11


  Case 1:03-cr-00145-TRM-SKL             Document 426         Filed 02/17/06      Page 11 of 15
                                         PageID #: 358
       E.      PSR

       Petitioner also claims his counsel provided ineffective assistance of counsel because he did

not object to the PSR and he did not show the PSR to Petitioner until three days before Petitioner

was scheduled to be sentenced. Petitioner, without explanation, argues Bowe should have objected

to “the factual statements about the case, the drug quantity involved, [Petitioner’s] role in the

offense, and the criminal history points” (Court File No. 1, Exh. A). Petitioner carries the burden

of proving his ineffective assistance of counsel claim. Virgin Islands v. Nicholas, 759 F.2d 1073,

1081 (3d Cir. 1985). Petitioner’s bald assertions do not come close to meeting the aforementioned

burden. Therefore, the Court has no trouble in concluding Petitioner’s counsel was not deficient in

failing to object to the PSR. Regardless, assuming counsel was deficient, it is clear Petitioner was

not prejudiced. He would have been sentenced to life imprisonment even if objections concerning

the factual statements of the case, Petitioner’s role in the offense, and criminal history points were

sustained. While a lower drug quantity might have made a mandatory life sentence inappropriate,

see 21 U.S.C. § 841(b)(1)(A), Petitioner has not offered any proof suggesting the appropriate drug

amount was less than fifty grams of crack or five kilograms of cocaine hydrochloride.4 Thus,

although Bowe did not object to the PSR, Petitioner has failed to show how Bowe’s failure was

below an objective standard of reasonableness or how his failure prejudiced him.

       As for Petitioner’s claim his counsel did not discuss the PSR with him until three days before

sentencing, the Court is unpersuaded. At the sentencing hearing Petitioner stated under oath he had

read the PSR and he had adequate time to discuss it with his counsel (Sentencing Tr. at pp. 3-4).



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        In fact, Petitioner declared under oath the drug amounts were well above the statutory
requirements provided for in 21 U.S.C. § 841(b)(1)(A) (See Rearr. Tr. at pp. 10-11).

                                                 12


  Case 1:03-cr-00145-TRM-SKL             Document 426         Filed 02/17/06      Page 12 of 15
                                         PageID #: 359
As the Court has already explained, Petitioner’s declarations in open court are given much more

weight than later unsupported allegations. Therefore, the Court concludes Bowe did discuss the PSR

with Petitioner in a timely manner. Nonetheless, even if Bowe did not discuss the PSR with

Petitioner until three days before he was to be sentenced, the Court concludes Petitioner was not

prejudiced. Petitioner would have been subject to the same sentence even if he had weeks to review

the PSR. Thus, the Court will DENY Petitioner’s motion on this ground.

       F.      Motion for Downward Departure

       Finally, Petitioner argues he was denied effective assistance of counsel when Bowe

improperly filed a motion for downward departure. Specifically Petitioner contends the motion for

downward departure was improperly filed because it was not supported by an affidavit and the

motion improperly raised an objection to the PSR. Petitioner’s argument is wholly without merit.

As already explained, even if a proper objection had been made to the PSR, the objection would not

have had any impact on Petitioner’s sentence. Therfore, it does not matter if Bowe addressed an

objection to the PSR in a motion for downward departure instead of a separate document. Also,

even if the downward departure motion had been perfectly written and supported by an affidavit,

the Court had no authority to sentence Petitioner to anything less than life imprisonment. The Court

could have sentenced Petitioner to something less than life imprisonment only if the Government

had made a motion for downward departure pursuant to USSG § 5K1.1 and 18 U.S.C. § 3553(e).

Garnica v. United States, 361 F.Supp. 2d 724, 736 (E.D. Tenn. 2005). The Government did not file

such a motion. Therefore, Petitioner has failed to demonstrate he was prejudiced by his counsel’s

alleged failures in filing a motion for downward departure. Accordingly, the Court will DENY

Petitioner’s ineffective assistance of counsel claim based on this ground.


                                                13


  Case 1:03-cr-00145-TRM-SKL             Document 426        Filed 02/17/06      Page 13 of 15
                                         PageID #: 360
III.   CONCLUSION

       For the reasons stated above, the Court holds Petitioner’s conviction and sentencing were

not in violation of the Constitution or laws of the United States, and the motion to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255 will be DENIED.

       The Court must now consider issues that may arise if Petitioner files a notice of appeal.

Section 2253(a) requires the district court to evaluate the appealability of its decision denying a §

2255 motion.5 Section 2255 now incorporates the old habeas procedure of issuing or denying a

certificate of probable cause, now renamed a certificate of appealability. No § 2255 petitioner may

appeal without this certificate. District judges may issue certificates of appealability under the

Antiterrorism and Effective Death Penalty Act (“AEDPA”), which codifies the standard for issuing

a certificate of probable cause originally articulated in Barefoot v. Estelle, 463 U.S. 880, 893, 103

S. Ct. 3383, 77 L. Ed. 2d 1090 (1983). See Lyons v. Ohio Adult Parole Auth., 105 F.3d 1063, 1073

(6th Cir. 1997). “A certificate of probable cause requires petitioner to make a ‘substantial showing

of the denial of [a] federal right.’” Barefoot, 463 U.S. at 893, 103 S. Ct. at 3394. See also 28 U.S.C.

§ 2253(c)(2). The standard is perhaps best phrased as follows:

       In requiring a “question of some substance,” or a “substantial showing of the denial
       of [a] federal right,” obviously the petitioner need not show that he should prevail


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          The Prison Litigation Reform Act of 1995 ("PLRA"), 28 U.S.C. § 1915(a)(3), does not
apply to appeals of orders denying § 2255 motions. Hereford v. United States, 117 F.3d 949, 951
(6th Cir. 1997); cf. McGore v. Wrigglesworth, 114 F.3d 601, 610 (6th Cir. 1997) (instructing courts
regarding proper PLRA procedures in prisoner civil-rights cases). Rather, to seek leave to appeal
in forma pauperis in a § 2255 case, and thereby avoid the $105 filing fee required by 28 U.S.C. §§
1913 and 1917, the prisoner must seek permission from the district court under Rule 24(a) of the
Federal Rules of Appellate Procedure. Hereford, 117 F.3d at 952. If the motion is denied, the
prisoner may renew the motion in the appellate court.

                                                  14


   Case 1:03-cr-00145-TRM-SKL             Document 426         Filed 02/17/06      Page 14 of 15
                                          PageID #: 361
        on the merits. He has already failed in that endeavor. Rather, he must demonstrate
        that the issues are debatable among jurists of reason; that a court could resolve the
        issues [in a different manner]; or that the questions are “adequate to deserve
        encouragement to proceed further.”

Gordon v. Willis, 516 F. Supp. 911, 913 (N.D. Ga. 1980) (quoting United States ex rel. Jones v.

Richmond, 245 F.2d 234 (2d Cir.), cert. denied, 355 U.S. 846, 78 S. Ct. 71, 2 L. Ed. 2d 56 (1957)).

        In this case, Petitioner’s claims are clearly without merit, and he cannot present a question

of some substance about which reasonable jurists could differ. The Court therefore DENIES a

certificate of appealability.

        Fed. R. App. P. 24(a) further requires the district court to certify in writing whether the

appeal is taken in good faith. For the same reasons the Court denies a certificate of appealability,

the Court determines that any appeal in this case would not be taken in good faith. It is therefore

CERTIFIED, pursuant to Fed. R.App. P. 24(a), that any appeal in this matter by Petitioner is not

taken in good faith, and he may not proceed on appeal in forma pauperis. United States v. Atkins,

171 F. Supp. 2d 769 (W.D. Tenn. 2001). No certificate of appealability will issue as Petitioner has

not made a substantial showing of the denial of a constitutional right as required by 28 U.S.C. §

2253(c).

        An Order shall enter.

                                              /s/
                                              CURTIS L. COLLIER
                                              CHIEF UNITED STATES DISTRICT JUDGE




                                                 15


   Case 1:03-cr-00145-TRM-SKL            Document 426         Filed 02/17/06      Page 15 of 15
                                         PageID #: 362
